       Case 3:17-cr-00343-K  Document
                        IN THE UNITED 29  FiledDISTRICT
                                      STATES    09/14/17 COURT
                                                           Page 1 of 1                               PageID 54
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                                   §
                                                           §
vs.                                                        §                    CASE NO.: 3:17-CR-343-K (01)
                                                           §
IGNACIO HORTA FIGUEROA                                     §

                                      REPORT AND RECOMMENDATION
                                       CONCERNING PLEA OF GUILTY

        IGNACIO HORTA FIGUEROA, by consent, under authority ofUnited States v. Dees, 125 F .3d 261 (51h Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 2 of the 2
Count Indictment, filed on July 12,2017. After cautioning and examining Defendant Ignacio Horta Figueroa,
under oath concerning each of the subjects mentioned in Rule II, I determined that the guilty plea was knowledgeable
and voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Ignacio
Horta Figueroa, be adjudged guilty of Possession With Intent to Distribute a Controlled Substance, in violation
of21 USC§ 841(a)(1) and (b)(1)(C), and have sentence imposed accordingly. After being found guilty of the offense
by the district judge.

~~~he defendant is currently in custody and should be ordered to remain in custody.
D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D        The Government does not oppose release.
        D        The defendant has been compliant with the current conditions of release.
        D        I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                 other person or the community if released and should therefore be released under § 3142(b) or (c).

        D        The Government opposes release.
        D        The defendant has not been compliant with the conditions of release.
        D        If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                 Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (I )(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and
                                                                                  a
        convincing evidence that the defendant is not likely to flee or pose dangeh)to any other person or the


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                                                           UNITED STATES MAGISTRATE JUDGE

                                                       NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen ( 14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
